
351 S.W.3d 275 (2011)
In The Interest of: J.W. and K.W.
Juvenile Officer, Respondent,
v.
D.W. (Mother), Appellant.
No. WD 73777.
Missouri Court of Appeals, Western District.
November 1, 2011.
Bryan E. Round, Kansas City, MO, for Appellant.
Lori L. Stipp, Kansas City, MO, for Respondent.
Katherine J. Rodgers, Kansas City, MO, Guardian ad litem.
Before Division II: MARK D. PFEIFFER, Presiding Judge, and VICTOR C. HOWARD and CYNTHIA L. MARTIN, Judges.

Order
PER CURIAM:
D.W. appeals the judgment of the Circuit Court of Jackson County, Family Court Division, terminating her parental rights to J.W. and K.W. pursuant to section 211.447, RSMo Cum.Supp.2010. Finding no error, we affirm the judgment and have provided the parties with a memorandum of law explaining our ruling. Rule 84.16(b).
